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                                                                             2024 Jun-10 PM 04:42
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION


EVAN MILLIGAN, et al.,
        Plaintiffs,
                                             Case No. 2:21-cv-01530-AMM
               v.
                                                THREE-JUDGE COURT
WES ALLEN, in his official
capacity as Alabama Secretary of
State, et al.,
               Defendants.


Before MARCUS, Circuit Judge, MANASCO and MOORER, District Judges.

BY THE COURT:

                                      ORDER

      This congressional redistricting case is before the Court on the Motions To

Quash, Docs. 346–47. Those motions are SET for a hearing at 9:30 a.m. on June 20,

2024 in the Special Proceedings Courtroom (8th Floor) of the Hugo L. Black United

States Courthouse in Birmingham, Alabama. The movants should be prepared to

offer evidence necessary to support their claims of privilege.

      DONE and ORDERED this 10th day of June, 2024.




                                    STANLEY MARCUS
                                    UNITED STATES CIRCUIT JUDGE
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                         _________________________________
                         ANNA M. MANASCO
                         UNITED STATES DISTRICT JUDGE




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